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                                UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA


  UNITED STATES OF AMERICA,                           Case No. 18-cr-00599-VC-1
                  Plaintiff,
                                                      ORDER COMPELLING DISCOVERY
           v.
                                                      Re: Dkt. No. 120
  ISAI ULISES VILLAGOMEZ,
                  Defendant.



       For the reasons stated on the record at the hearing, the government is ordered to provide

to the Court for in camera inspection any and all documents reflecting communications between

Agent Cahill and any current or former AUSA relating to the defense’s motion to suppress. This

includes, but is not limited to, communications regarding Cahill’s declaration and

communications regarding the evidentiary hearing. It includes, but is not limited to, any drafts of

Cahill’s declaration and any comments on drafts, whether made by Cahill or the U.S. Attorney’s
Office. It includes, but is not limited to, any emails, notes, or text messages.

       The government’s search for, identification of, and production of materials responsive to

this order must be closely overseen by a supervisor in the U.S. Attorney’s Office who has not

been directly involved in this case. The production must be accompanied by a sworn declaration

(again, to be submitted in camera) by that supervisor explaining in detail the process by which

the office achieved confidence that all materials responsive to this order were identified and

produced. For the purpose of ensuring that all responsive materials are identified and produced, it

is not sufficient to rely on the current or former AUSAs involved in this case—an independent
review must be conducted. The U.S. Attorney’s Office should resolve any doubts about whether
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a document is responsive to this order in favor of production for in camera inspection.

       The government is also ordered to produce for in camera inspection any responsive

documents (including emails, notes, or text messages) in the possession of Cahill or the DEA.

       The government is further ordered to provide directly to the defense Cahill’s phone

records for the period between 10:00 a.m. and 11:20 a.m. on November 5, 2018. The government

is ordered to provide the records from the phone of the confidential informant for the same time

period. These phone records must also be included in the government’s in camera submission.

       All records must be produced for in camera inspection no later than November 3, 2021.

The government is also ordered to produce the phone records to the defense no later than

November 3, 2021.

       IT IS SO ORDERED.

Dated: October 6, 2021
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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